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                                                   Main Document     Page 1 of 2

 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address


 Robert Marcereau (SBN: 211534)                                                                          FILED & ENTERED
 MARCEREAU & NAZIF
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 Tel: (949) 531-6500
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 E-mail: rmarcereau@mncalaw.com                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                                                           Central District of California
                                                                                                           BY duarte     DEPUTY CLERK




                                                                                                CHANGES MADE BY COURT



      Debtor(s) appearing without attorney
 X    Attorney for: Movant, Kelli Peters

                                           UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA –Santa Ana DIVISION

 In re:                                                                      CASE NO.: 8:16-bk-10223-ES
                                                                             CHAPTER: 7
 Kent Wycliffe Easter, dba Kent Easter Consulting, dba                       ADVERSARY NO: 8:16-01114-ES
 Law Offices of Kent W. Easter
                                                                                 STATUS CONFERENCE AND SCHEDULING
                                                              Debtor(s)
                                                                                  ORDER PURSUANT TO LBR 7016-1(a)(4)

                                                                             DATE: July 21, 2016
                                                                             TIME: 9:30 a.m.
 Kelli Peters, Bill Peters and Sydnie Peters                                 COURTROOM: 5A
                                                                             ADDRESS: 411 W. Fourth Street
                                                              Plaintiff(s)               Santa Ana, CA 92701
                                    vs.




 Kent W. Easter

                                                          Defendant(s)

1.   A status conference took place on the date and time indicated above.
2.   Parties and counsel were present as reflected in the court record.
3.   This matter is disposed of as follows:
     a. X     Continued to the following date for a further status conference:                   (date) 11/10/2016          (time) 2:00 p.m.
     b.       A joint status report must be filed and served, including a judge’s copy, by (date):
     c.       The last day to join other parties and to amend pleadings is (specify date):
          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      d.       The last day for pre-trial motions to be filed and served, including a judge’s copy, is (date):
      e.       The last date for pre-trial motions to be heard is (date):
      f.       The last day for discovery to be completed, including receiving responses to discovery requests, is
               (date):
      g.       A       pre-trial stipulation or        pre-trial order must be filed and lodged by (date)                              (time)
                   No pre-trial stipulation or pre-trial order is required
      h.       A pre-trial conference is set for (date)                            (time)
                   No pre-trial conference is required
      i.       Estimate of time for trial (specify number of hours):
      j.       A trial is set for (date)                      (time)
      k.       The adversary proceeding is dismissed for failure to appear or prosecute
                  with prejudice     without prejudice
      l.       Notice of next status conference or pre-trial conference date is waived
      m. X Other (specify): The Deadline to file Summary Judgment Motion is 10/4/2016. The Hearing on
                                                     1
         Summary Judgment is 11/10/2016 at 2:00 p.m. An updated joint status report is not required.


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                   Date: August 15, 2016




1
 A hearing date on the Motion for Summary Judgment was originally reserved for November 8, 2016 at 2:00p.m. However,
due to the court’s unavailability on November 8, 2016, a hearing date has now been reserved for November 10, 2016 at 2:00
pm.
           This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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